                                                                                                     FORM 1
                                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                             Page:        1
                                                                                                  ASSET CASES
Case No:             19-40222             Judge: DALE L. SOMERS                                                                                   Trustee Name:                     Steven R. Rebein, Chapter 7 Trustee
Case Name:           VALLEY GRAIN AND FERTILIZER COMPANY                                                                                         Date Filed (f) or Converted (c):   03/08/19 (f)
                                                                                                                                                 341(a) Meeting Date:               04/01/19
For Period Ending: 03/31/20                                                                                                                      Claims Bar Date:                   10/11/19



                                         1                                                     2                             3                        4                         5                                   6
                                                                                                                  Estimated Net Value
                                                                                         Petition/           (Value Determined by Trustee,     Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                               Asset Description                                        Unscheduled             Less Liens, Exemptions,           Abandoned                Received by               Gross Value of Remaining Assets
                   (Scheduled and Unscheduled (u) Property)                               Values                   and Other Costs)           OA=554(a) Abandon             the Estate

 1. Bank of Highland, checking                                                                      55.00                              0.00                                              0.00                     FA
 2. Cash on hand                                                                                    53.00                              0.00                                              0.00                     FA
 3. Accounts receivable                                                                       52,304.36                                0.00                                              0.00                           1,000.00
 4. Valley Grain and Fetilizer Co., Inc. Stock                                                       0.00                              0.00                                              0.00                     FA
 5. Agricultural Equipment                                                                   512,500.00                                0.00                                              0.00                          20,000.00
 6. Office equipment and funiture                                                                  500.00                              0.00                                              0.00                            200.00
 7. 1752 Coronado Rd, Highland , KS , Land                                                     6,131.00                                0.00                                              0.00                           5,000.00
 8. Building-Main Facility 1752 Coronando Rd, KS                                             766,528.00                                0.00                                              0.00                       550,000.00
 9. Shareholder Loans                                                                                0.00                              0.00                                              0.00                           2,000.00
 10. Asset Purchase Agreement                                                              1,000,000.00                                0.00                                              0.00                     FA
 11. Property tax rebates (u)                                                                  3,035.04                            3,035.04                                          3,035.04                     FA
 12. Everest KS Real Estate, Block 44 (u)                                                            0.00                          1,000.00                                              0.00                           1,000.00
 13. 409 Main Street, Everest KS (u)                                                                 0.00                         35,000.00                                              0.00                          35,000.00

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $2,341,106.40                           $39,035.04                                         $3,035.04                     $614,200.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   3/31/20 - Trustee has determined that property collected by prior trustee is subject to a lien; trustee intends to file
   motion to pay secured creditor and administrative expenses;
   3/18/20 - Trustee filed motion to Abandon property of the Estate - objection deadline is 4/8/20;
   3/12/20 - Order Employing Accountant entered [DOC# 30];
   2/27/20 - Order Employing SRR as Attorney for Trustee entered [DOC #27];




LFORM1                                                                 Case 19-40222                  Doc# 39            Filed 04/09/20           Page 1 of 4                                                                      Ver: 22.02c
                                                                                                   FORM 1
                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                         Page:       2
                                                                                                ASSET CASES
Case No:             19-40222            Judge: DALE L. SOMERS                                                                             Trustee Name:                      Steven R. Rebein, Chapter 7 Trustee
Case Name:           VALLEY GRAIN AND FERTILIZER COMPANY                                                                                   Date Filed (f) or Converted (c):   03/08/19 (f)
                                                                                                                                           341(a) Meeting Date:               04/01/19
                                                                                                                                           Claims Bar Date:                   10/11/19
   2/27/20 - Trustee filed application to employ Rebein as attorney and intends to file a motion to abandon assets 3 and 9
   ; trustee fully administered assets 1 and 2 and is evaluating an offer to purchase remaining assets;
   2/25/20 - Prior trustee has fully administered assets 4, 10 and 11 and was pursuing assets 1 - 3, 5 - 9, 12 and 13;
   2/7/20 - Steve Rebein is appointed successor trustee upon resignation of Baer;
   1/27/20 - Notes from RBaer: #10 was an agreement that included essentially all assets and did not close. The Trustee is
   trying to complete a sale of assets. Receivables and shareholder loans are subject to a perfected security interest.
   The receivables and shareholder loans are of very questionable collectability.


   RE PROP# 3---Subject to security interest;


   Initial Projected Date of Final Report (TFR): 04/01/20            Current Projected Date of Final Report (TFR): 01/15/21




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                                                                                                  FORM 2                                                                                                 Page:    1
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           19-40222                                                                                                   Trustee Name:                      Steven R. Rebein, Chapter 7 Trustee
  Case Name:         VALLEY GRAIN AND FERTILIZER COMPANY                                                                        Bank Name:                         Axos Bank
                                                                                                                                Account Number / CD #:             *******1540 Checking Account
  Taxpayer ID No:    *******8046
  For Period Ending: 03/31/20                                                                                                   Blanket Bond (per case limit):     $ 23,148,000.00
                                                                                                                                Separate Bond (if applicable):


           1             2                                 3                                               4                                                5                        6                       7
    Transaction      Check or                                                                                                          Uniform                                                       Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)         Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                      0.00
          02/26/20               Robert L. Baer, Trustee                         Receipt of funds from prior trustee                  1290-000                   3,035.04                                        3,035.04

                                                                                                            COLUMN TOTALS                                        3,035.04                  0.00                   3,035.04
                                                                                                                Less: Bank Transfers/CD's                        3,035.04                  0.00
                                                                                                            Subtotal                                                 0.00                  0.00
                                                                                                                Less: Payments to Debtors                                                  0.00
                                                                                                            Net
                                                                                                                                                                     0.00                  0.00




                                                                                                                                Page Subtotals                   3,035.04                   0.00
                                                                                                                                                                                                                 Ver: 22.02c
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                                                                                                 FORM 2                                                                                                     Page:      2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           19-40222                                                                                                  Trustee Name:                       Steven R. Rebein, Chapter 7 Trustee
  Case Name:         VALLEY GRAIN AND FERTILIZER COMPANY                                                                       Bank Name:                          Axos Bank
                                                                                                                               Account Number / CD #:              *******2108 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8046
  For Period Ending: 03/31/20                                                                                                  Blanket Bond (per case limit):      $ 23,148,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                             3                                                  4                                                  5                          6                         7
    Transaction      Check or                                                                                                         Uniform                                                               Account / CD
       Date          Reference               Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                BALANCE FORWARD                                                                                                                            0.00
          10/31/19      11       DONIPHAN COUNTY TREASURER                      PYMT OF PROPERTY TAX REBATES                         1224-000                     131.10                                                131.10
                                 PO BOX 308
                                 TROY KS 66087
          10/31/19      11       DONIPHAN COUNTY TREASURER                      PYMT OF PROPERTY TAX REBATES                         1224-000                    2,627.85                                             2,758.95
                                 PO BOX 308
                                 TROY KS 66087
          10/31/19      11       DONIPHAN COUNTY TREASURER                      PYMT OF PROPERTY TAX REBATES                         1224-000                     276.09                                              3,035.04
                                 PO BOX 308
                                 TROY KS 66087
          02/26/20    002001     Steven R. Rebein                               Transfer funds to successor trustee                  1290-002                                               3,035.04                       0.00

                                                                                                           COLUMN TOTALS                                         3,035.04                   3,035.04                        0.00
                                                                                                               Less: Bank Transfers/CD's                             0.00                   3,035.04
                                                                                                           Subtotal                                              3,035.04                       0.00
                                                                                                               Less: Payments to Debtors                                                        0.00
                                                                                                           Net
                                                                                                                                                                 3,035.04                       0.00
                                                                                                                                                                                   NET                             ACCOUNT
                                                                                                          TOTAL - ALL ACCOUNTS                       NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                         Checking Account - ********1540                              0.00                        0.00                 3,035.04
                                                                                        Checking Account (Non-Interest Earn - ********2108                      3,035.04                          0.00                       0.00
                                                                                                                                                   ------------------------    ------------------------   ------------------------
                                                                                                                                                                3,035.04                          0.00                 3,035.04
                                                                                                                                                   ==============             ==============              ==============
                                                                                                                                                    (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                               Transfers)               To Debtors)                    On Hand




                                                                                                                               Page Subtotals                    3,035.04                    3,035.04
                                                                                                                                                                                                                      Ver: 22.02c
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